Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 1 of 25 Page ID #:58




          EXHIBIT D
   Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 2 of 25 Page ID #:59

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                    Central District, Spring Street Courthouse, Department 7

22STCV21516                                                                           July 11, 2022
ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                   8:49 AM


Judge: Honorable Lawrence P. Riff                  CSR: None
Judicial Assistant: Alfredo Morales                ERM: None
Courtroom Assistant: Teresa Bivins                 Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Court Order Re: Newly Assigned Case

By this order, the Court determines this case to be Complex according to Rule 3.400 of the
California Rules of Court. The Clerk’s Office has assigned this case to this department for all
purposes.

Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
service of this order.

By this order, the Court stays the case, except for service of the Summons and Complaint. The
stay continues at least until the Initial Status Conference. Initial Status Conference is set for
09/16/2022 at 10:00 AM in this department. At least twenty (20) days prior to the Initial Status
Conference, counsel for all parties must discuss the issues set forth in the Initial Status
Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
Statement five (5) court days before the Initial Status Conference.

The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
Court and the parties manage this complex case by developing an orderly schedule for briefing,
discovery, and court hearings. The parties are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
Appearance shall not constitute a waiver of any substantive or procedural challenge to the
                                           Minute Order                                 Page 1 of 3
   Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 3 of 25 Page ID #:60

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 7

22STCV21516                                                                            July 11, 2022
ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                    8:49 AM


Judge: Honorable Lawrence P. Riff                   CSR: None
Judicial Assistant: Alfredo Morales                 ERM: None
Courtroom Assistant: Teresa Bivins                  Deputy Sheriff: None

Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
Private Attorney General Act (“PAGA”) claim.

For information on electronic filing in the Complex Courts, please refer to
https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
“Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
First Amended General Order of May 3, 2019, particularly including the provisions therein
requiring Bookmarking with links to primary documents and citations; that Order is available on
the Court’s website at the link shown above.

For efficiency in communication with counsel, the complex program requires the parties in every
new case to use an approved third-party cloud service that provides an electronic message board.
In order to facilitate communication with counsel prior to the Initial Status Conference, the
parties must sign-up with the e-service provider at least ten (10) court days in advance of the
Initial Status Conference and advise the Court which provider was selected.

The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
parties to make audio or video appearances in Los Angeles County courtrooms.
LACourtConnect technology provides a secure, safe and convenient way to attend hearings
remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
services and access to justice, LACourtConnect is intended to enhance social distancing and
change the traditional in-person courtroom appearance model. See
https://my.lacourt.org/laccwelcome for more information.

This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
is 01 and Dept. 10 is 10.

Court reporters are not provided for hearings or trials. The parties should make their own
arrangements for any hearing where a transcript is desired.

If you believe a party or witness will need an interpreter, see the court’s website for information
on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

Counsel are directed to access the following link for further information on procedures in the
                                          Minute Order                                Page 2 of 3
   Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 4 of 25 Page ID #:61

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                     Central District, Spring Street Courthouse, Department 7

22STCV21516                                                                          July 11, 2022
ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                  8:49 AM


Judge: Honorable Lawrence P. Riff                 CSR: None
Judicial Assistant: Alfredo Morales               ERM: None
Courtroom Assistant: Teresa Bivins                Deputy Sheriff: None

Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
of service.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 3 of 3
NJ             Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 5 of 25 Page ID #:62
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                                                                                FILED
      2                                                                 Superior Court of California
                                                                          County of Los Angeles

      3
                                                                             JUL 11 2022
      4
                                                                  Sherri R. Cane.,        -...vtr/Clerk
                                                                  -•y                          -deputy
      5                                                                   /•ALFREDO MORALES
      6


      7


      8

                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
      9


     io                                 FOR THE COUNTY OF LOS ANGELES

     li


     12
          ALEC LIGORRIA                                    Case No.: 22STCV21516

     13
                                   Plaintiff,              INITIAL      STATUS         CONFERENCE
     14
                                                           ORDER
                                                            (COMPLEX LITIGATION)
          V.
     15


     16
          LOOMIS ARMORED US, LLC
                                                           Case assigned for all purposes to
                                                           Judge Lawrence P. Riff
     17                            Defendant
                                                           Spring Street Courthouse
     18                                                     Department 7
                                                            ISC Date: 09/16/2022 at 10:00 a.m.
     19


     20


     21

                   This case has been assigned for all purposes to Judge Lawrence P. Riff, Complex
     22


               Litigation, Department 7. PLEASE READ THE COURTROOM INFORMATION FOR
     23


     24        DEPARTMENT 7 POSTED ON THE COURT’S WEBSITE (www.lacourt.org.)

     25
                   The Court has scheduled an Initial Status Conference on September 16, 2022 at
     26
               10:00 a. m. in Department 7, Second Floor, 312 North Spring Street, Los Angeles,
     27

               California 90012.    Department 7 utilizes the LACourtConnect video and telephonic
     28




                                                           1
NJ         Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 6 of 25 Page ID #:63
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       1   conference platform for hearings.      To minimize social contact and avoid the risk of
N-?
       2
           COVID-19 infection, the Court encourages parties and counsel to appear remotely
       3

           (via LACourtConnect). When appearing via telephone or video-conference, please
       4


           call in from a quiet place and bear in mind that the technology only allows one person
       5


       6   to be heard at a time.       Please pause frequently so that the Court can interject

       7
           questions and direct the discussion to the issues that are most important to the Court.

       8
               The purpose of the Initial Status Conference is to identify a fair and efficient way
       9

           of proceeding with the case.          The Court encourages the parties to propose
      io


      li   approaches to case management that will promote the fair and efficient handling of

      12   the case.    The Court is particularly interested in identifying dispositive or significant

      13
           issues that may be addressed early in the case.         For example, if an important issue
      14

           in the case is the admissibility of critical evidence (such as expert testimony), an early
      15

           motion in limine to decide that issue may be the most efficient way to proceed.            Or,
      16


      17   if the Court’s interpretation of provisions in a contract is a key issue, it may make

      18
           sense for the plaintiff to amend the complaint (or the defendant to amend the answer)

      19
           to attach a copy of the contract so that the court can adjudicate the issue in a
      20

           demurrer.
      21


      22
                  The     Court   orders   counsel   for   all   parties   to   confer   via   telephone,

      23   videoconference or other real time technology, at least 20 days before the Initial

      24
           Status Conference. The purpose of the meeting is to discuss the following issues so
      25
           that counsel can prepare a Joint Statement to be filed with the Court five court days
      26

           before the Initial Status Conference.
      27


      28




                                                            2
NJ               Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 7 of 25 Page ID #:64
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''-I    i                All parties in Department 7 must sign up with an e-service provider and activate
NJ
        2
                 a message board so that the Court can communicate with counsel prior to the ISC.
        3

                 The Court orders the parties to agree upon and sign up with an e-service provider
        4


                 (Case Anywhere, File & ServeXpress, or Case Homepage) at least 10 court days
        5


        6        before the ISC.     So that the Court can promptly issue an order appointing the e-

        7
                 service provider, the Court orders Plaintiff’s counsel to identify the selected e-service
        8
                 provider by sending an email to Dept. 7 at SSCDept7@lacourt.org upon agreement
        9

                 of an e-service provider.
       io


       ii
                         Please remember that electronic service is not the same as electronic filing.

       12                To reserve a hearing date, please telephone the courtroom staff when the

       13
                 motion is ready to be filed.
       14

                         Plaintiff’s counsel should take the lead in preparing the Joint Statement and
       15

                 in ensuring that it includes a brief description of the facts and causes of action and
       16


       17        addresses the following questions.

       18
            1)   Are there any issues of judicial recusal or disqualification?

       19
            2) Are any parties improperly named as defendants?
       20

            3) Will either side challenge jurisdiction or venue or move to compel arbitration?
       21


       22   4) What are the key legal and factual issues affecting each side’s evaluation of this

       23        case?

       24
            5) Are any. of these key issues suitable for an early adjudication? For example, does it
       25
                 make sense for the court to promptly adjudicate a statute of limitation defense,
       26

                 interpret a provision in a statute, adjudicate the adequacy of a class representative,
       27


       28        or decide the admissibility of critical evidence?




                                                               3
NJ               Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 8 of 25 Page ID #:65
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        i   6) Is the most efficient procedure for presenting key issues to the court a motion,
I—‘


        2
                 bifurcated trial, motion in limine, motion to certify or deny class certification, or another
        3

                 proceeding?
        4

                                                                                                                                  1
            7)   How and when do the parties plan to engage in the various forms of discovery?
        5


        6   8) Does it make sense to bifurcate certain issues for discovery or trial?

        7
            9)   How will the parties preserve evidence and uniformly identify documents produced in

        8
                 discovery?
        9

            1 0) Do the parties need to execute a joint stipulation for protective order?                              The court
       io


       ii
                 recommends the model protective orders found on the Los Angeles Superior Court

       12        Website under “Civil Tools for Litigators.”

       13
            11) Will the parties employ a mediator or ask the Court to order a mandatory settlement
       14

                 conference as a means of alternative dispute resolution (ADR)?
       15

            12) Does any party have insurance (indemnity or reimbursement) and are there any
       16


       17        potential coverage issues that may affect settlement?

       18
                 In addition to addressing these questions, the parties’ Joint Statement must include

       19
                 the following information.
       20

            1 3) The estimated size of any putative class.2
       21


       22


       23
                       1 If electronically stored information must be produced, the court encourages the parties to have their
            respective IT consultants/employees participate in the meet and confer process addressing (1) the information
       24
            management systems employed by the parties; (2) the location and custodians of information (including the
            identification of network and email servers and hard drives maintained by target custodians); (3) the format in which
       25
            electronically stored information will be produced; (4) the type of ESI that will be produced, i.e., data files, emails,
            etc.; (5) appropriate search criteria for focused requests.
       26

                       2 In class action/PAGA Initial Status Conferences, the court generally orders the parties to utilize the
       27
            procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4th 554, sharing the cost
            equally.
       28




                                                                              4
NJ              Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 9 of 25 Page ID #:66
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NJ
NJ

G)
s     i    14) A deadline for adding and serving any new parties.
NJ
      2
           15) The parties’ selected e-service provider (Case Anywhere, FileandServeXpress, or
      3

                Case Homepage).3
      4


           16) A description (including case numbers) of any related cases pending in other courts
      5


      6         (including class actions with overlapping class definitions).

      7
           17) Whether the parties stipulate that discovery and/or pleading stays entered by the

      8
                Court for case management purposes are excluded from the five year rule under
      9

                Code of Civil Procedure Section 583.310.
     io


     ii-
           18) A service list identifying all primary and secondary counsel along with their firm

     12         names, addresses, telephone numbers, email addresses and fax numbers.

     13
           19) Recommended dates and times for the following:
     14

           a.   The next status conference.
     15

           b.   Mediation completion.
     16


     17    c.   A filing deadline (and proposed briefing schedule) for key motions or proceedings, if

     18
                any.

     19
                To the extent the parties are unable to agree on the matters to be addressed in the
     20

                Joint Statement, each side may state its position in point/counterpoint fashion.
     21


     22
                        The Court orders each defendant to file a Notice of Appearance for purposes

     23         of identifying and serving all counsel.             The Notice of Appearance shall be without

     24
                prejudice to       any affirmative defense,           cross complaint,         affirmative      defense or
     25
                jurisdictional challenge.
     26


     27
                    3 E-service does not effectuate a justiciable filing with the court. Uploading a document onto the e-service
           provider’s website provides notice to the court and to the parties but does not place them in the public record or
     28
           effectuate a filing with the court.




                                                                          5
NJ          Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 10 of 25 Page ID #:67
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      i            Except for the filing of a Notice of Related Case or a Motion to Compel
NJ
      2
            Arbitration, the Court stays all other proceedings in this action.          The Court
      3

            issues the stay to assist the Court and the parties in this “complex” case by ensuring,
      4


            among other things, an orderly schedule for briefing and hearings on procedural and
      5


      6     substantive challenges to the complaint. This stay precludes the filing of any answer,

      7
            demurrer, motion to strike, or motion challenging the jurisdiction of the Court.   The

      8
            stay does not apply to the filing of a notice of related case or any motion to compel
      9

            arbitration.   Before filing a motion to compel arbitration, the Defendant must provide
     io


     li
            the plaintiff with a copy of the arbitration agreement and meet and confer with counsel

     12     to determine whether the plaintiff will oppose the motion to compel arbitration.

     13
            Although this stay applies to formal discovery, it does not prevent the parties from
     14

            informally exchanging documents or information that may assist in their initial
     15

            evaluation of the issues presented in this case. Any future stay ordered by the Court
     16


     17     for purposes of case management is not a stay under Code of Civil Procedure section

     18
            583.310 unless the Court so orders.

     19
                   The Court orders Plaintiffs’ counsel to serve this Initial Status Conference
     20

            Order on counsel for Defendant(s), or if counsel is not known, on Defendant(s) within
     21


     22
            five (5) days of the date of this Order. If the Complaint has not been served as of the

     23     date of this Order, Counsel for Plaintiff must serve the Complaint within five (5) days

     24
            of the date of this Order.
     25
          Dated   JUL 1 1 2022
     26

                                                               Lawrence P. Riff
     27
                                                          Judge of the Superior Court
     28




                                                           6
       Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 11 of 25 Page ID #:68
                                                                                Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Alec Ligorria
DEFENDANT/RESPONDENT:
Loomis Armored US, LLC
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             22STCV21516

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Re: Newly Assigned
Case) of 07/11/2022, Initial Status Conference Order upon each party or counsel named below by placing
the document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Chaim Shaun Setareh
    Setareh Law Group
    9665 Wilshire Blvd, Ste 430
    Beverly Hills, CA 90212




                                                    Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 07/11/2022                                   By:   A. Morales
                                                          Deputy Clerk




                                     CERTIFICATE OF MAILING
              Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 12 of 25 Page ID #:69
Electronically FILED by Superior Court of California, County of Los Angeles on 07/15/2022 03:48 PM Sherri R. Carter, Executive Officer/Clerk of Court, by L. Smith,Deputy Clerk




          1    Shaun Setareh (SBN 204514)
                 shaun@setarehlaw.com
          2    JoseMaria D. Patmo, Jr. (SBN 270194)
                jose@setarehlaw.com
          3    Maxim Gorbunov (SBN 343128)
                maxim@setarehlaw.com
         4     SETAREH LAW GROUP
               9665 WilshireBlvd., Suite430
          5    Beverly Hills, California 90212
               Telephone (310) 888-7771
         6     Facsimile (310) 888-0109
         7     Attorneys for PlaintiffALECLIGORRLA.
         8

         9                                      SUPERIORCOURTOFTHE STATEOFCALIFORNIA
        10                                                  FORTHE COUNTSOFLOSANGELES

        11                                                          UNLIMITED JURISDICTION

        12

        13     ALECLIGORRIA,onbehalfofhimselfandall                                         CaseNo. 22STCV21516
               others similarly situated,
       14
                                      Plaintiff,                                            PLAINTIFF'S NOTICE OF EVITIAL
       15                                                                                   STATUS CONFERENCE AND ORDER
                          V.
       16
          LOOMISARMOREDUS, LLC,a Texas
       17 limitedliability company; andDOES 1 through
               50, inclusive,
       18
                                     Defendants.
       19

       20

       21
       22

       23

       24
       25

       26
       27
       28


                                        PLAINTIFF'SNOTICEOF D>IITIALSTATUS CONFERENCEAND ORDER
     Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 13 of 25 Page ID #:70



 1          TO ALLPARTIESHEREINANDTHEIRATTORNEYSOF RECORD:
 2          PLEASE TAKE NOTICE THAT the Court set an Initial Status Conference for September 16,
 3   2022, at 10:0 a.m., in Department 7 ofthe Superior Court ofCalifornia, County ofLos Angeles, Spring
 4   StreetCourthouse.A true andcorrectcopyoftheMinuteOrderis attachedhereto asExhibitA.
 5

 6


 7   DATED: July 15, 2022                        SETAREH LAW GROUP

 8

 9

                                                    UN SETAREH
10                                               JOSEMARIA D. PATINO, JR.
                                                 MAXIM GORBUNOV
11                                               Attorneys for Plaintiff
                                                 ALEC LIGORRIA
12

13

14

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                                                     1
                     PLAINTIFF'SNOTICEOF INITIALSTATUS CONFERENCEAND ORDER
Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 14 of 25 Page ID #:71




  “EXHIBIT A”
 Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 15 of 25 Page ID #:72


     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                               Civil Division
                         Central District, Spring Street Courthouse, Department 7

 22STCV21516                                                                              July 11, 2022
 ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                       8:49 AM


 Judge: Honorable Lawrence P. Riff                    CSR:None
 JudicialAssistant: AIfredo Morales                   ERM: None
 Courtroom Assistant: Teresa Bivins                   Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 ForDefendants): NoAppearances




 NATURE OF PROCEEDINGS: Court Order Re: Newly Assigned Case

 By this order, the Court determines this case to be Complex according to Rule 3.400 of the
California Rules ofCourt. TheClerk's Officehasassignedthis caseto this department for all
purposes.


Pursuant to Government Code Sections 70616(a) and70616(b), a single complex fee ofone
thousand dollars ($1, 000. 00) must be paid on behalfofall plaintiffs. For defendants, a complex
fee ofone thousand dollars ($1, 000. 00) must be paid for each defendant, intervenor, respondent
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
Allsuch fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
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By diis order, the Court stays the case, except for service of the Summons and Complaint. The
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09/16/2022 at 10:00 AM in this department. At least twenty (20) days prior to the Initial Status
Conference, counsel for all parties must discussthe issuesset forth in the InitialStatus
Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
Statement five (5) court days before die Initial Status Conference.

The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
Court and the parties manage this complex case by developing an orderly schedule for briefing,
discovery, and court hearings. The parties are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further Order ofthe Court. Parties must fiie a Notice
of Appearance in lieu of an Answer or other responsive pleading. The filing ofa Notice of
Appearance shall not constitute a waiver ofany substantive or procedural challenge to the
                                            MinuteOrder                                   Page1 of 3
 Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 16 of 25 Page ID #:73


     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                      Central District, SpringStreetCourthouse, Department 7

 22STCV21S16                                                                               July 11, 2022
 ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                        8:49AM


 Judge: Honorable Lawrence P. Riff                    CSR; None
 Judicial Assistant: Alfredo Morales                  ERM: None
 Courtroom Assistant: Teresa Bivins                   Deputy Sheriff: None

 Complaint. Nothing in tliis order stays the time for filing an AflRdavit of Prejudice pursuant to
 Code of Civil Procedure Section 170. 6. Nothing in this order stays the filing ofan Amended
 Complaint pursuant to LaborCode Section2699. 3(a)(2)(C) by a plaintiffwishingto add a
 Private Attorney General Act ("PAGA") claim.

For information ODelectronic filing in the Complex Courts, please refer to
https://www. Iacourt. org/division/efiling/efiling2. aspx#civi]. See, in particular, the link therein for
"Complex Civil efiling. " Parties shall file all documents in conformity with the PresidingJudge's
First Amended General Order ofMay 3, 2019, particularly including the provisions therein
requiring Bookmarkingwitfi links to primarydocumentsandcitations; that Orderis availableon
the Court's website at the link shown above.

Forefficiency in communication with counsel, the complex program requires the parties in every
new case to use an approved third-party cloud service thatprovides an electronic message board.
In orderto facilitate communicationwithcounsel prior to the Initial StatusConference, the
parties must sign-up with the e-service provider at least ten (10) court days in advance of the
Initial Statiis Conference and advise the Court which provider was selected.

The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
partiesto makeaudioor videoappearancesin LosAngeles County courtrooms.
LACourtConnect technology provides a secure, safe and convenient wayto attend hearings
remotely. A key element ofthe Court'sAccessLACourtYOURWAYprogram to provide
services andaccesstojustice, LACourtConnectis intendedto enhancesocial distancingand
change the traditional in-person courtroom appearance model. See
https://my. lacourt. org/Jaccwelcome for more information.

This Complex Courtroom doesnot useLosAngeles SuperiorCourt's Court Reservation("CRS")
portal to reservemotionhearingdates. Rather, counsel may securedates by callingthe
Courtroom Assistant at 213-310-70xx with the "xx"being the Departinent number, e.g. Dept. 1
is 01 andDept. 10is 10.

Court reporters arenot providedforhearingsor trials. Theparties shouldmaketheirown
arrangements for any hearing where a transcript is desired.

If you believe a party or witness will need an interpreter, see the court's website for information
on howto make such a request in a timely manner. https://www. lacourt. org/irud/UI/index. aspx

Counsel are directedto accessthefollowing link for furtherinfonnationonproceduresin die
                                            Minute Order                                   Page 2 of 3
Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 17 of 25 Page ID #:74


    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                     Central District, Spring Street Courthouse, Department 7

22STCV21516                                                                         July 11, 2022
ALEC LIGORRIA vs LOOMIS ARMORED US, LLC                                                 8:49 AM


Judge:HonorableLawrenceP. Riff                    CSR:None
Judicial Assistant: Alfredo Morales               EKM: None
Courtroom Assistant: Teresa Bivins                Deputy Sheriff:None

Complex litigation Program courtrooms: https;//www. lacourt. org/division/civil/C[0042. aspx.

Theplaintiffmust serve a copy ofthisminute orderandtheattached Initial StatusConference
Orderonall parties forthwithandfile a ProofofServicein'thisdepartment within seven (7) days
of service.

Certificate of Mailing is attached.
     Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 18 of 25 Page ID #:75


             SUPERIOR COURT OF CALIFORNIA                                           Reserved for Clerk's Fite Stamp

                COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                         FILED
 Spring Street Courthouse                                                         Sifliyw Court of Caiiforffla,
                                                                                   Couotyol ijosAngstes
 312 North Spring Street, Los Angeles, CA 90012
                                                                                         07/11/2022
 PLAINTIFF/PETITIONER:
                                                                            Eac- .^Crfae' Citac^.'ftO'^.w. Ou'Mi'Cua-
 Alee Ligorria                                                               Sy.           A. Morales        tte&-ly
 DEFENDANT/RESPONDENT:
 Loomis Armored US, LLC
                                                                            CASE NUMBER:
                         CERTIFICATE OF MAILING
                                                                            22STCV21516

1, the below-flamed Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
garty loa the cause jierein, and thaton this date^l served the Minute Order (Court'Order fee: Newly Assigned
Case)of07/11/2022,InitialStatusConferenceOrder upon eachparty or rounsel namedbelowlaypladr
the document for collection and mailing so as to cause it to be deposited in the United States maiFat the"
courthouse in Los Angeles, California, one copy of the original filed/entond herein in a separate sealed
envelope to each addressas shown belowwith'the postagethereon fully prepaid. In acconiancewith
standard court practices.




    Chaim Shaun Setareh
    Setareh Law Group
    9665 Wilshire Blvd, Ste 430
    Beverly Hills, CA 90212




                                                    Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 07/11/2022                                   By: A. Morales
                                                        Deputy Clerk



                                     CERTIFICATEOF MAILING
          Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 19 of 25 Page ID #:76




      1

                                                                          _ FILED
     2                                                                      Court of Califon-i.
                                                                          nty of-Los"Anael8^'"
     3


     4
                                                                         JUL11 2022
     5
                                                                  "^s.^^^:^;-
                                                                    /AI.FREDOMORALES
     6


     7


     8


     9
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

 10                                  FOR THE COUNTY OF LOS ANGELES
 11

 12
          ALEC LIGORRIA                                   Case No. : 22STCV21516
13
                                Plaintiff,                INITIAL STATUS         CONFERENCE
14                                                        ORDER
          V.
                                                          (COMPLEX LITIGATION)
15

16        LOOMIS ARMORED US, LLC
                                                          Case assigned for all purposes to
17                             Defendant
                                                          Judge Lawrence P. Riff
                                                          Spring Street Courthouse
18                                                        Department 7
                                                          ISC Date: 09/16/2022at 10:00 a.m.
19

20

21
                  This case has been assigned for all purposes to Judge Lawrence P. Riff, Complex
22

23             Litigation, Department 7. PLEASE READ THE COURTROOM INFORMATION FOR

24         DEPARTMENT 7 POSTED ON THE COURT'S WEBSITE (www. lacourt. or .)
25
                  The Court has scheduled an Initial Status Conference on September 16, 2022 at
26
           10:00 a.m. in Department 7, Second Floor, 312 North Spring Street, Los Angeles,
27
           California 90012. Department 7 utilizes the LACourtConnect video and telephonic
28
         Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 20 of 25 Page ID #:77




     1
           conference platform for hearings. To minimize social contact and avoid the risk of
     2
           COVID-19 infection, the Court encourages parties and counsel to appear remotely
     3

           (via LACourtConnect). When appearing via telephone or video-conference, please
     4


     5     call in from a quiet place and bear in mind that the technology only allows one person
     6     to be heard at a time. Please pause frequently so that the Court can interject
     7
           questions and direct the discussion to the issues that are most important to the Court.
     8

               The purpose of the Initial Status Conference is to identify a fair and efficient way
     9


 10
          of proceeding with the case.         The Court encourages the parties to propose

 11       approaches to case management that will promote the fair and efficient handling of
12        the case. The Court is particularly interested in identifying dispositive or significant
13
          issues that may be addressed early in the case. For example, if an important issue
14
          in the case is the admissibility of critical evidence (such as expert testimony), an eariy
15

16
          motion in limine lo decide that issue may be the most efficient way to proceed.       Or,

17        if the Court's interpretation of provisions in a contract is a key issue, it may make
18
          sense for the plaintiff to amend the complaint (or the defendant to amend the answer)
19
          to attach a copy of the contract so that the court can adjudicate the issue in a
20
          demurrer.
21

22               The Court orders counsel for all parties to confer via telephone,

23        videoconference or other real time technology, at least 20 days before the Initial
24
          Status Conference. The purpose of the meeting is to discuss the following issues so
25
          that counsel can prepare a Joint Statement to be filed with the Court five court days
26
          before the Initial Status Conference.
27

28
          Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 21 of 25 Page ID #:78




     1
                    All parties in Department 7 must sign up with an e-service provider and activate
     2
             a message board so that the Court can communicate with counsel prior to the ISC.
     3


     4
             The Court orders the parties to agree upon and sign up with an e-service provider

     5       (Case Anywhere, File & ServeXpress, or Case Homepage) at least 10 court days
     6       before the ISO. So that the Court can promptly issue an order appointing the e-
     7
            service provider, the Court orders Plaintiff's counsel to identify the selected e-service
     8

            provider by sending an email to Dept. 7 at SSCDept7@lacourt. org upon agreement
     9

            of an e-sen/ice provider.
 10

11                 Please remember that electronic service is not the same as electronic filing.
12                 To reserve a hearing date, please telephone the courtroom staff when the
13
            motion is ready to be filed.
14
                    Plaintiff's counsel should take the lead in preparing the Joint Statement and
15

16
            in ensuring that it includes a brief description of the facts and causes of action and

17          addresses the following questions.
18
         1) Are there any issues ofjudicial recusal or disqualification?
19
          ) Are any parties improperly named as defendants?
20
         ) Will either side challenge jurisdiction or venue or move to compel arbitration?
21

22       ) What are the key legal and factual issues affecting each side's evaluation of this

23         case?
24
         ) Are any of these key issues suitable for an eariy adjudication? For example, does it
25
           make sense for the court to promptly adjudicate a statute of limitation defense,
26
           interpret a provision in a statute, adjudicate the adequacy of a class representative,
27

28         or decide the admissibilityof critical evidence?
          Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 22 of 25 Page ID #:79




     1
           ) Is the most efficient procedure for presenting key issues to the court a motion,
     2
              bifurcated trial, motion in limine, motion to certify or deny class certification, or another
     3

              proceeding?
     4


     5     ) How and when dothe parties plan to engage in the various forms of discovery?1
     6     ) Does it make sense to bifurcate certain issues for discovery or trial?
     7
           ) How will the parties preserve evidence and uniformly identify documents produced in
     8
              discovery?
     9

         10) Do the parties need to execute a joint stipulation for protective order? The court
 10

11           recommends the model protective orders found on the Los Angeles Superior Court
12           Website under "Civil Tools for Litigators."
13
         11) Will the parties employ a mediator or ask the Court to order a mandatory settlement
14
             conference as a means of alternative dispute resolution (ADR)?
15

16       12) Does any party have insurance (indemnity or reimbursement) and are there any
17           potential coverage issues that may affect settlement?
18
             In addition to addressing these questions, the parties' Joint Statement must include
19
             the following information.
20
         13) The estimated size of any putative class.2
21

22

23
                  ' If electronically stored infonnation must be produced, the court encourages the parties to have their
24       respective IT consultants/employees participatein the meetandconferprocessaddressing(1) the information
         management systems employed by the parties; (2) the location and custodians of information (including the
         identification of network and email servers and hard drives maintained by target custodians); (3) the format in which
25
         electronically stored information will be produced; (4) the type ofESIthat will beproduced, i.e., datafiles, emails,
26       etc. ; (5) appropriate search criteriafor focusedrequests.

27                2 In class action/PAGAInitial StatusConferences, the courtgenerally ordersthe parties to utilize the
         procedure approved in Bel-Aire West Landscape, Inc. v. Superior Court (2007) 149 Cal. App. 411'554, sharing the cosi
28       equally.
          Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 23 of 25 Page ID #:80




     1
          14) A deadlinefor adding and serving any new parties.
     2
          15) The parties' selected e-service provider (Case Anywhere, FileandServeXpress, or
     3

               Case Homepage).3
     4


     5    16) A description (including case numbers) of any related cases pending in other courts

     6        (including class actions with overlapping class definitions).
     7
          17) Whether the parties stipulate that discovery and/or pleading stays entered by the
     8
              Court for case management purposes are excluded from the five year rule under
     9

              Code of Civil Procedure Section 583. 310.
 10

 11      18) A service list identifying all primary and secondary counsel along with their firm
 12           names, addresses, telephone numbers, email addresses and fax numbers.
 13
         19) Recommended dates and times for the following:
14
           . The next status conference.
15

16
           . Mediation completion.

17        . A filing deadline (and proposed briefing schedule) for key motions or proceedings, if
18
             any.
19
             To the extent the parties are unable to agree on the matters to be addressed in the
20
             Joint Statement, each side may state its position in poinVcounterpoint fashion.
21

22                     The Court orders each defendant to file a Notice of Appearance for purposes
23           of identifying and serving all counsel. The Notice of Appearance shall be without
24
             prejudice to any affirmative defense, cross complaint, affirmative defense or
25
            jurisdictional challenge.
26

27
                  3 E-servicedoesnoteffectuatea justiciablefilingwiththecourt. Uplpadinga documentontothee-service
28       provider's websileprovides notice to the court andto the parties but does notplace them in the public record or
         effec(uate a filing with the court.
           Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 24 of 25 Page ID #:81




      1
                     Exce t for the filin of a Notice of Related Case or a Motion to Corn el
      2
             Arbitration the Court sta s all other roceedin s in this action. The Court
      3


     4
             issues the stay to assist the Court and the parties in this "complex" case by ensuring,

     5       among other things, an orderly schedule for briefing and hearings on procedural and
     6       substantive challenges to the complaint. This stay precludes the filing of any answer,
     7
             demurrer, motion to strike, or motion challenging the jurisdiction of the Court. The
     8

             stay does not apply to the filing of a notice of related case or any motion to compel
     9


 10
             arbitration. Before filing a motion to compel arbitration, the Defendant must provide
 11         the plaintiff with a copy of the arbitration agreement and meet and confer with counsel
 12
            to determine whether the plaintiff will oppose the motion to compel arbitration.
 13
            Although this stay applies to formal discovery, it does not prevent the parties from
 14
            informally exchanging documents or information that may assist in their initial
 15

16          evaluation of the issues presented in this case. Any future stay ordered by the Court
17          for purposes of case management is not a stay under Code of Civil Procedure section
18          583. 310 unless the Court so orders.
19
                   The Court orders Plaintiffs' counsel to serve this Initial Status Conference
20

21
            Order on counsel for Defendant(s), or if counsel is not known, on Defendant(s) within

22          five (5) days of the date of this Order. If the Complaint has not been served as of the
23          date of this Order, Counsel for Plaintiff must serve the Complaint within five (5) days
24
            of the date of this Order.
25
          Dated JUL 1 1 2022
26
                                                            Lawrence P. R ff
27
                                                        Judge of the SuperiorCourt
28
Case 2:22-cv-05532 Document 1-4 Filed 08/05/22 Page 25 of 25 Page ID #:82



                                            PROOF OF SERVICE

            I am a citizen ofthe United States and am employed in the County ofLos Angeles, State
 3   ofCalifornia. I am over the ageof 18 andnot a party to the-withinaction. My business address
     is 9665 Wilshire Blvd., Suite 430 Beverly Hills, CA 90212.

               On July 15, 2022, 1 servedthe foregoingdocuments describedas:

               PLAENTIFF'S NOTICE OF INITIAL STATUS CONFERENCE AND ORDER

     in this actionby transmitting a true copythereofaddressedas follows:
       Loomis Armored US, LLC
       c/o C T CORPORATION SYSTEM
       330 N BRAND BLVD STE 700
10     GLENDALE, CA 91203
       Agent for Service ofProcess for
11
       Loomis Armored US, LLC
12

13   [X]      BY MAIL
14          I am readily familiar with the practice ofSetareh Law Group for the collection and
     processingofcorrespondencefor mailingwith the United StatesPostal Service. It is the
15
     practicethat correspondenceis depositedwith United States Postal Servicethe samedayit is
16   submitted for mailing with postage thereon fully prepaid at Beverly Hills, California. I am
     awarethat on motion oftheparty served, serviceis presumedinvalidif postal cancellationdate
17   or postagemeter dateis more than one day afterdateofdeposit for mailingin affidavit.
18
     [X]      STATE I declareunderpenalty ofperjury underthe laws ofthe StateofCaliforniathat
19   the above is true and correct.

20

21         Executed on July 15, 2022, at Beverly Hills, California.

22

23

24
                                                                      Wendy Sarabia
25

26

27

28




                                                        1

                                              PROOFOF SERVICE
